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                                                                BRIEFING ROOM



                             Executive Order on Guaranteeing an
                             Educational Environment Free from
                         Discrimination on the Basis of Sex, Including
                            Sexual Orientation or Gender Identity
                                                  MARCH 08, 2021 • PRESIDENTIAL ACTIONS




                        By the authority vested in me as President by the Constitution and the laws
                      of the United States of America, it is hereby ordered as follows:
                        Section 1. Policy. It is the policy of my Administration that all students
                      should be guaranteed an educational environment free from discrimination
                      on the basis of sex, including discrimination in the form of sexual
                      harassment, which encompasses sexual violence, and including
                      discrimination on the basis of sexual orientation or gender identity. For
                      students attending schools and other educational institutions that receive
                      Federal financial assistance, this guarantee is codified, in part, in Title IX of
                      the Education Amendments of 1972, 20 U.S.C. 1681 et seq., which prohibits
                      discrimination on the basis of sex in education programs or activities
                      receiving Federal financial assistance.
                        Sec. 2. Review of Agency Actions. (a) Within 100 days of the date of this
                      order, the Secretary of Education, in consultation with the Attorney General,
                      shall review all existing regulations, orders, guidance documents, policies,
                      and any other similar agency actions (collectively, agency actions) that are or
                      may be inconsistent with the policy set forth in section 1 of this order, and
                      provide the findings of this review to the Director of the Oﬃce of
                      Management and Budget.
                           (i)   As part of the review required under subsection (a) of this section,
                      the Secretary of Education            shall review the rule entitled
                      “Nondiscrimination on the Basis of Sex in Education Programs or Activities
                      Receiving Federal Financial Assistance,” 85 Fed. Reg. 30026 (May 19, 2020),
                      and any other agency actions taken pursuant to that rule, for consistency
                      with governing law, including Title IX, and with the policy set forth in

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                      section 1 of this order.
                           (ii) As soon as practicable, and as appropriate and consistent with
                      applicable law, the Secretary of Education shall review existing guidance and
                      issue new guidance as needed on the implementation of the rule described in
                      subsection (a)(i) of this section, for consistency with governing law,
                      including Title IX, and with the policy set forth in section 1 of this order.
                           (iii) The Secretary of Education shall consider suspending, revising, or
                      rescinding — or publishing for notice and comment proposed rules
                      suspending, revising, or rescinding — those agency actions that are
                      inconsistent with the policy set forth in section 1 of this order as soon as
                      practicable and as appropriate and consistent with applicable law, and may
                      issue such requests for information as would facilitate doing so.
                        (b) The Secretary of Education shall consider taking additional
                      enforcement actions, as appropriate and consistent with applicable law, to
                      enforce the policy set forth in section 1 of this order as well as legal
                      prohibitions on sex discrimination in the form of sexual harassment, which
                      encompasses sexual violence, to the fullest extent permissible under law; to
                      account for intersecting forms of prohibited discrimination that can aﬀect
                      the availability of resources and support for students who have experienced
                      sex discrimination, including discrimination on the basis of race, disability,
                      and national origin; to account for the significant rates at which students
                      who identify as lesbian, gay, bisexual, transgender, and queer (LGBTQ+) are
                      subject to sexual harassment, which encompasses sexual violence; to ensure
                      that educational institutions are providing appropriate support for students
                      who have experienced sex discrimination; and to ensure that their school
                      procedures are fair and equitable for all.
                      Sec. 3. General Provisions. (a) Nothing in this order shall be construed to
                      impair or otherwise aﬀect:
                           (i) the authority granted by law to an executive department or agency,
                      or the head thereof; or
                           (ii) the functions of the Director of the Oﬃce of Management and
                      Budget relating to budgetary, administrative, or legislative proposals.
                        (b) This order shall be implemented consistent with applicable law and
                      subject to the availability of appropriations.
                        (c) This order is not intended to, and does not, create any right or benefit,
                      substantive or procedural, enforceable at law or in equity by any party
                      against the United States, its departments, agencies, or entities, its oﬃcers,

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                      employees, or agents, or any other person.


                                                                                           JOSEPH R. BIDEN JR.


                      THE WHITE HOUSE,
                      March 8, 2021.




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